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                                    IN THE UNITED STATES DISTRICT COURT
                                  FOR THE WESTERN DISTRICT OF OKLAHOMA

SUZETTE GRILLOT,                                             )
                                                             )
                   Plaintiffs,                               )
                                                             )
v.                                                           )         Case No. CIV-19-241-J
                                                             )
STATE OF OKLAHOMA, et al,                                    )         TRIAL DOCKET: FEBRUARY 2021
                                                             )
                   Defendants.                               )

                                         AMENDED SCHEDULING ORDER

                                 ☒ JURY TRIAL DEMANDED – ☐ NON-JURY TRIAL

                                 THE COURT SETS THE FOLLOWING DEADLINES

1.       Motions to join additional parties to be filed          6.         Discovery to be completed by 12/5/2020.
within 15 days of this Order.
                                                                 7.         All dispositive and Daubert motions to be
2.       Motions to amend pleadings to be filed                  filed by 11/1/2020.
within 15 days of this Order.
                                                                 If the deadline for dispositive motions and
3.       Plaintiff(s) to file a final list of expert             Daubert motions precedes the discovery deadline,
witness(es) and submit expert reports to Defendant(s)            the parties are expected to conduct any discovery
and file a final list of witnesses, together with                necessary for such motions in advance of the
addresses and brief summary of expected testimony                motion deadline.
where a witness has not already been deposed by
10/5/2020.*                                                      8.       TRIAL DOCKET: February 2021.*

4.       Defendant(s) to file a final list of expert             *Trial dockets generally begin the second Tuesday of
witness(es) and submit expert reports to Plaintiff(s)            each month; however, this practice varies, particularly
and file a final list of witnesses (as described above)          during holidays. The published trial docket will
by 10/20/2020.*                                                  announce the trial setting.

5.        (a) Plaintiff(s) to file a final exhibit list by       The      interval     between     the     dispositive
10/20/2020.* Defendant(s) to file objections to                  motion/Daubert deadline and the trial docket is
Plaintiff(s) final exhibit list, under Fed. R. Civ. P.           relatively inflexible. An extension of time to file or
26(a)(3)(B) by 11/5/2020.                                        respond to a motion for summary judgment will
                                                                 likely affect the trial setting.
         (b) Defendant(s) to file a final exhibit list by
11/5/2020.* Plaintiff(s) to file objections to                   9.         Designation of deposition testimony to be
Defendant(s) final exhibit list, under Fed. R. Civ. P.           used at trial to be filed by 1/1/2021. Objections and
26(a)(3)(B), by 11/20/2020.                                      counter-designations to be filed by 1/10/2021.*

*The listing of witnesses and exhibits shall                     *Parties objecting to use of deposition testimony
separately state those expected to be called or used             must submit with their objections, the relevant
and those which may be called or used if the need                portions of the deposition transcript with specific
arises. Except for good cause shown, no witness                  testimony highlighted.
will be permitted to testify, and no exhibit will be
admitted in any party’s case in chief unless such                10.      Motions in limine to be filed by 1/1/2021.*
witness or exhibit was included in the party’s filed
witness or exhibit list.                                         *Unless the Court grants leave to file separate
                                                                 motions in limine, all motions in limine shall be
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consolidated into a single filing, which shall be                  *In addition to filing, the parties are encouraged,
subject to the page limitation in LCvR 7.1(d).                     but not required, to submit their proposed jury
                                                                   instructions or findings of fact and conclusions of
11.       Requested voir dire to be filed by 1/1/2021.             law in Word format to the Clerk via the Court’s
                                                                   designated          mail         box:        jones-
12.       Trial briefs (optional unless otherwise                  orders@okwd.uscourts.gov
ordered) to be filed by 1/1/2021.
                                                                   15.      Responses to motions in limine shall be filed
13.       Requested jury instructions to be filed on or            within 14 days. Any objection or response to the trial
before 1/1/2021.*                                                  submissions referenced in ¶ 11, 12, 13, or 14 shall be
                                                                   filed within 7 days.
14.       NON-JURY CASES ONLY: Proposed
findings and conclusions of law to be filed by no later            16.      The Final Pretrial Report, approved by all
than N/A.*                                                         counsel and in full compliance with Local Rules (see
                                                                   Appendix IV), together with a proposed order
                                                                   approving the report, to be filed by 1/1/2021.

17.       This case is referred to the following Court-sponsored ADR/settlement process or special trial track:

☐             by agreement of the parties, with the approval of the Court:
☐             by Order of the Court:

                   ☐ Mediation
                   ☐ Judicial Settlement Conference
                   ☐ Other

If the case is referred to mediation or some other form of private ADR, the process shall be completed, and a report
filed with the Court by the parties, stating whether the case settled, not later than__________________.

18.      ☐ The parties consent to trial by Magistrate Judge.

19.       Initial disclosures pursuant to Fed. R. Civ. P. 26 ☒ have been made, ☐ are excused, or ☐ shall be made no
later than _______________.

20.      Other:___________________________________________________________.

         Dated this 27th day of May, 2020.


                                                         BY ORDER OF THE COURT
                                                         CARMELITA REEDER SHINN, CLERK OF THE COURT

                                                         By:       /s/ D. Wayne Lee
                                                                   Deputy Clerk




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